 

 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF OREGON

In re
Case No.18-31646

Karamos Holdings, Inc.

  

CREDITOR CHANGE OF ADDRESS '*
Debtor(s)

 

Note to Debtors: If you wish to add a new creditor to this case, you must file LBF #728 and pay the
required filing fee. If you submit a creditor address different from the one listed on the most recent proof of
claim by that creditor, the court will send any notices to the creditor at both addresses. :

 

 

Creditor Name: Wells Fargo Bank, N.A.

 

 

Old Address: New Address:
300 Tri-State International, Ste 400 800 Walnut Street
Lincolnshire, IL 60069-4417 MAC F0005-055

Des Moines, IA 50309

 

 

 

 

 

Creditor Phone Number: 800-247-0032

If you are a creditor who has already filed a claim: Please enter the claim number and check the
appropriate box. You need not file an amended claim to update only an address.

Claim No. 4

Please use the new address for: [_] Notices only [_]Payments only kX]Notices and Payments
| CERTIFY THAT THE ABOVE INFORMATION IS TRUE AND CORRECT.

Date:_2-15- ona. (la

 

 

Signature (Required)
‘beannd cas
Type/ Print Signer’s Name _ OSB # (if attorney)
800-241-6038 xTHB54Q  Equioment Rnance Contract
Signer’s Phone # and Relation to Case ' ' Analyst

_ Further Information About Address Changes
Address changes for debtors must be filed on LBF #101D. Other parties may file an address change by letter
which includes the case number, debtor's name, date, and the filer’s signature.

Further Information About Adding A New Party or Creditor to a Case [also see above Note to Debtors]

An ECF Participant who wishes to receive notice must electronically file a text-only Notice of Appearance or
Special Notice Request. Any other party who wishes to receive notice must file a written request with the court.

101C (2/19/13)

Case 18-31646-pcm11 Doc 25 Filed 02/25/19

 
